     Case 21-03067-sgj Doc 5 Filed 09/29/21 Entered 09/29/21 15:26:31 Page 1 of 6
      Case 3:21-cv-00842-B Document 5 Filed 04/13/21 Page 1 of 6 PageID 36


AO 440 (Rev. 12/09) Summons in a Civil Action


                                 UNITED STATES DISTRICT COURT
                                                    for the
                                           Northern District of Texas

        Charitable DAF Fund et al                      )
                     Plaintiff                         )
                       v.                              )    Civil Action No. 3:21-cv-00842-B
                                                       )
                                                       )
 Highland Capital Management LP et al                  )
                     Defendant                         )

                                      Summons in a Civil Action

TO: Highland CLO Funding Ltd


A lawsuit has been filed against you.

       Within 21 days after service of this summons on you (not counting the day you received
it) -- or 60 days if you are the United States or a United States agency, or an officer or
employee of the United States described in Fed. R. Civ. P. 12(a)(2) or (3) -- you must serve
on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or the
plaintiff’s attorney, whose name and address are:

     Mazin Sbaiti
     J.P. Morgan Chase Tower
     2200 Ross Avenue
     Suite 4900W
     Dallas , TX 75201

    If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint. You also must file your answer or motion with the court.




                                                               CLERK OF COURT



DATE: 04/13/2021
                                                                Signature of Clerk or Deputy Clerk
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                Case 3:21-cv-00842-B Document 5 Filed 04/13/21 Page 2 of 6 PageID 37
AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

  Civil Action No. 3:21-cv-00842-B


                                                            PROOF OF SERVICE
                            (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))


      This summons for (name of individual and title, if any) _______________________________________________________
was received by me on (date) ______________________.


              I personally served the summons on the individual at (place) _____________________________________________
          __________________________________________________________ on (date) ___________________________; or


               I left the summons at the individual's residence or usual place of abode with (name) ___________________________
          ____________________________________________________, a person of suitable age and discretion who resides there,
          on (date) __________________________________________, and mailed a copy to the individual's last known address; or


               I served the summons on (name of individual) __________________________________________, who is designated
          by law to accept service of process on behalf of (name of organization) _________________________________________
          _________________________________________________________ on (date) ______________________________ ; or


               I returned the summons unexecuted because ______________________________________________________ ; or


              other (specify) __________________________________________________________________________________
          __________________________________________________________________________________________________




        My fees are $ _________________                  for travel and $ __________________   for services, for a total of $ _____________


           I declare under penalty of perjury that this information is true.


 Date: ______________________                                              ______________________________________________________
                                                                                               Server's signature


                                                                           ______________________________________________________
                                                                                             Printed name and title


                                                                           ______________________________________________________
                                                                                               Server's address



 Additional information regarding attempted service, etc:
     Case 21-03067-sgj Doc 5 Filed 09/29/21 Entered 09/29/21 15:26:31 Page 3 of 6
      Case 3:21-cv-00842-B Document 5 Filed 04/13/21 Page 3 of 6 PageID 38


AO 440 (Rev. 12/09) Summons in a Civil Action


                                 UNITED STATES DISTRICT COURT
                                                    for the
                                           Northern District of Texas

        Charitable DAF Fund et al                      )
                     Plaintiff                         )
                       v.                              )    Civil Action No. 3:21-cv-00842-B
                                                       )
                                                       )
 Highland Capital Management LP et al                  )
                     Defendant                         )

                                      Summons in a Civil Action

TO: Highland Capital Management LP


A lawsuit has been filed against you.

       Within 21 days after service of this summons on you (not counting the day you received
it) -- or 60 days if you are the United States or a United States agency, or an officer or
employee of the United States described in Fed. R. Civ. P. 12(a)(2) or (3) -- you must serve
on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or the
plaintiff’s attorney, whose name and address are:

     Mazin Sbaiti
     J.P. Morgan Chase Tower
     2200 Ross Avenue
     Suite 4900W
     Dallas , TX 75201

    If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint. You also must file your answer or motion with the court.




                                                               CLERK OF COURT



DATE: 04/13/2021
                                                                Signature of Clerk or Deputy Clerk
               Case 21-03067-sgj Doc 5 Filed 09/29/21 Entered 09/29/21 15:26:31 Page 4 of 6
                Case 3:21-cv-00842-B Document 5 Filed 04/13/21 Page 4 of 6 PageID 39
AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

  Civil Action No. 3:21-cv-00842-B


                                                            PROOF OF SERVICE
                            (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))


      This summons for (name of individual and title, if any) _______________________________________________________
was received by me on (date) ______________________.


              I personally served the summons on the individual at (place) _____________________________________________
          __________________________________________________________ on (date) ___________________________; or


               I left the summons at the individual's residence or usual place of abode with (name) ___________________________
          ____________________________________________________, a person of suitable age and discretion who resides there,
          on (date) __________________________________________, and mailed a copy to the individual's last known address; or


               I served the summons on (name of individual) __________________________________________, who is designated
          by law to accept service of process on behalf of (name of organization) _________________________________________
          _________________________________________________________ on (date) ______________________________ ; or


               I returned the summons unexecuted because ______________________________________________________ ; or


              other (specify) __________________________________________________________________________________
          __________________________________________________________________________________________________




        My fees are $ _________________                  for travel and $ __________________   for services, for a total of $ _____________


           I declare under penalty of perjury that this information is true.


 Date: ______________________                                              ______________________________________________________
                                                                                               Server's signature


                                                                           ______________________________________________________
                                                                                             Printed name and title


                                                                           ______________________________________________________
                                                                                               Server's address



 Additional information regarding attempted service, etc:
     Case 21-03067-sgj Doc 5 Filed 09/29/21 Entered 09/29/21 15:26:31 Page 5 of 6
      Case 3:21-cv-00842-B Document 5 Filed 04/13/21 Page 5 of 6 PageID 40


AO 440 (Rev. 12/09) Summons in a Civil Action


                                 UNITED STATES DISTRICT COURT
                                                    for the
                                           Northern District of Texas

        Charitable DAF Fund et al                      )
                     Plaintiff                         )
                       v.                              )    Civil Action No. 3:21-cv-00842-B
                                                       )
                                                       )
 Highland Capital Management LP et al                  )
                     Defendant                         )

                                      Summons in a Civil Action

TO: Highland HCF Advisor Ltd


A lawsuit has been filed against you.

       Within 21 days after service of this summons on you (not counting the day you received
it) -- or 60 days if you are the United States or a United States agency, or an officer or
employee of the United States described in Fed. R. Civ. P. 12(a)(2) or (3) -- you must serve
on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or the
plaintiff’s attorney, whose name and address are:

     Mazin Sbaiti
     J.P. Morgan Chase Tower
     2200 Ross Avenue
     Suite 4900W
     Dallas , TX 75201

    If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint. You also must file your answer or motion with the court.




                                                               CLERK OF COURT



DATE: 04/13/2021
                                                                Signature of Clerk or Deputy Clerk
               Case 21-03067-sgj Doc 5 Filed 09/29/21 Entered 09/29/21 15:26:31 Page 6 of 6
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AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

  Civil Action No. 3:21-cv-00842-B


                                                            PROOF OF SERVICE
                            (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))


      This summons for (name of individual and title, if any) _______________________________________________________
was received by me on (date) ______________________.


              I personally served the summons on the individual at (place) _____________________________________________
          __________________________________________________________ on (date) ___________________________; or


               I left the summons at the individual's residence or usual place of abode with (name) ___________________________
          ____________________________________________________, a person of suitable age and discretion who resides there,
          on (date) __________________________________________, and mailed a copy to the individual's last known address; or


               I served the summons on (name of individual) __________________________________________, who is designated
          by law to accept service of process on behalf of (name of organization) _________________________________________
          _________________________________________________________ on (date) ______________________________ ; or


               I returned the summons unexecuted because ______________________________________________________ ; or


              other (specify) __________________________________________________________________________________
          __________________________________________________________________________________________________




        My fees are $ _________________                  for travel and $ __________________   for services, for a total of $ _____________


           I declare under penalty of perjury that this information is true.


 Date: ______________________                                              ______________________________________________________
                                                                                               Server's signature


                                                                           ______________________________________________________
                                                                                             Printed name and title


                                                                           ______________________________________________________
                                                                                               Server's address



 Additional information regarding attempted service, etc:
